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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,
                                                        Case No. 20CR1553-GPC

                                       Plaintiff,
                      vs.
                                                        JUDGMENT OF DISMISSAL
Xavier Avila,
                                                                              FILED
                                                                               NOV O5 2020
                                    Defendant.
                                                                          CLERK, U.S DISTRICT COURT
                                                                       SO~Tl;:lERN ptSTRICT OF CALIFORNIA
IT APPEARING that the defendant is now entitled to be disch       Ii     a tor the reason that        urv


      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

     an indictment has been filed in another case against the defendant and the Court has
     granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

X     the jury has returned its verdict, finding the defendant not guilty;

 X    of the offense( s) as charged in the Superseding Indictment:

      Count I: 21 :952. 960 - Importation of Cocaine; Count 2: 21 :841(a)(l) - Possession of
      Cocaine with Intent to Distribute

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

Dated: 11/5/2020

                                                    Hon. G o n z a l ~
                                                    United States District Judge
